     Case 1:24-cv-01102-KES-SAB            Document 157        Filed 02/25/25    Page 1 of 17


 1    Terence G. Banich (SBN 212173)1
      terence.banich@katten.com
 2    KATTEN MUCHIN ROSENMAN LLP
      525 W. Monroe St.
 3    Chicago, IL 60661-3693
      Telephone:    (312) 902-5200
 4    Facsimile:    (312) 902-1061

 5    John E. Mitchell (pro hac vice)
      Michaela C. Crocker (pro hac vice)
 6    KATTEN MUCHIN ROSENMAN LLP
      2121 North Pearl St., Ste. 1100
 7    Dallas, TX 75201-2591
      Telephone:    (214) 765-3600
 8    Facsimile:    (214) 765-3602

 9    Attorneys for the Receiver
      Lance Miller
10

11                                   UNITED STATES DISTRICT COURT

12                                  EASTERN DISTRICT OF CALIFORNIA

13
      THE PRUDENTIAL INSURANCE                          ) No. 1:24-cv-01102-KES-SAB
14    COMPANY OF AMERICA, et al.,                       )
                                                        ) NOTICE OF MOTION AND
15                    Plaintiffs,                       ) UNOPPOSED MOTION OF
                                                        ) RECEIVER LANCE MILLER FOR
16               v.                                     ) ORDER AUTHORIZING
                                                        ) ENGAGEMENT AND
17    ACDF, LLC, et al.                                 ) COMPENSATION OF CAPSTONE
                                                        ) CAPITAL MARKETS LLC AS
18                    Defendants.                       ) INVESTMENT BANKER;
                                                        ) MEMORANDUM OF POINTS AND
19                                                      ) AUTHORITIES IN SUPPORT
                                                        ) THEREOF
20                                                      )
                                                        ) Filed concurrently with Ex Parte Application to
21                                                      ) Shorten Time
                                                        )
22                                                      ) Hearing:
                                                        ) Hearing Date: March 3, 2025 (subject to Ex
23                                                      ) Parte Application to Shorten Time)
                                                        ) Hearing Time: 1:30 P.M. PT
24                                                      ) Location: Robert E. Coyle U.S. Courthouse
                                                        ) 2500 Tulare Street
25                                                      ) Courtroom 6, 7th floor
                                                        ) Fresno, CA 93721
26                                                      )
                                                          HONORABLE KIRK E. SHERRIFF
27

28
      1
           Designated as counsel for service pursuant to L.R. 182(c)(1).

     302177865
     Case 1:24-cv-01102-KES-SAB               Document 157        Filed 02/25/25      Page 2 of 17


 1                TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2                PLEASE TAKE NOTICE THAT Lance Miller, not individually but solely in his capacity

 3    as Court-appointed receiver (the “Receiver”), moves the Court for entry of an order authorizing the

 4    Receiver’s engagement and compensation of Capstone Capital Markets LLC (“Capstone”) as

 5    investment banker to assist him in the marketing and sale of certain Receivership Property in the

 6    above-captioned case (the “Motion”).

 7                PLEASE TAKE FURTHER NOTICE THAT the Motion is based on the Memorandum of

 8    Points and Authorities below and is supported by: (a) the Declaration of Lance Miller (the “Miller

 9    Declaration”) a copy of which is attached hereto as Exhibit A; (b) the Declaration of Skye Root

10    (the “Root Declaration”), a copy of which is attached hereto as Exhibit B; and (c) the Receiver’s

11    engagement letter with Capstone (the “Engagement Letter”),2 a copy of which is attached as

12    Exhibit 1 to the Root Declaration.

13                                 Summary of Proposed Compensation Structure

14                Capstone proposes to charge the following fees in relation to the Transaction Services to be

15    performed under the Engagement Letter:

16               Section 3: Professional Fees. As compensation for the Transaction Services rendered

17               under the Engagement Letter by Capstone, Capstone will receive payment of the

18               following fees:

19        (i)          Retainer Fees: a non-refundable retainer fee of $35,000 payable upon the

20                     execution and delivery of the Engagement Letter and on the first day of each

21                     subsequent month during the Term of the Engagement Letter (the “Monthly

22                     Retainer Fees”). Subject to subparagraph (c) of the Engagement Letter, the

23                     aggregate amount of the Engagement Fee and the Monthly Retainer Fees will be

24
      2
25         All capitalized terms used but not defined in the Motion shall have the meanings ascribed to
           them in the Engagement Letter. The descriptions of the Engagement Letter contained in this
26         Motion are summary in nature and parties are urged to review the Engagement Letter. In the
           event of any inconsistency between the summary in the Motion and the terms of the Engagement
27         Letter, the terms of the Engagement Letter shall prevail.
                                                        2
28                                              No. 1:24-cv-01102-KES-SAB
                         NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                  ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                   AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB                Document 157        Filed 02/25/25      Page 3 of 17


 1                      fully credited against the Transaction Fees in accordance with the Lender

 2                      allocations provided in subparagraph (e) of the Engagement Letter.

 3               (ii)   Transaction Fee: Upon the closing of one or more Transactions involving the

 4                      sale of Sale Property, Capstone shall receive a cash fee equal to one percent

 5                      (1.0%) of the Aggregate Transaction Value (as defined in Section 4 of the

 6                      Engagement Letter) attributable to each Transaction, and upon the closing of

 7                      one or more Transactions involving the sale of Excluded Parcels, if any,

 8                      Capstone shall receive a cash fee of two percent (2.0%) (in each case a

 9                      “Transaction Fee”) provided that:

10                              a)     The aggregate Transaction Fees attributable to all Transactions

11                                     involving the Sale Property and Excluded Parcels shall not be

12                                     less than five million dollars ($5,000,000) (the “Minimum

13                                     Transaction Fee”) after credit of Monthly Retainer Fees, and

14                              b)     If a Lender successfully consummates one or more Transactions

15                                     as a credit bidder in any Transaction, the Transaction Fee

16                                     attributable to each such Transaction shall be reduced by twenty

17                                     five percent (25%).

18               During the Term of the Engagement Letter, the Transaction Fee, if earned by Capstone

19               pursuant to the terms of the Engagement Letter, shall be payable to Capstone regardless

20               of whether or not the Prospective Acquirer was introduced by Capstone. In addition,

21               Capstone will be reimbursed for all reasonable expenses related to the Transaction

22               Services and Transaction(s) described in the Engagement Letter, including the

23               reasonable fees and expenses, if any, of legal counsel, water consultants, or other

24               advisors retained by Capstone in connection with its performance under the

25               Engagement Letter; provided, however, that Receiver shall not be responsible for any

26               single out-of-pocket expense (or series of related expenses, such as legal or consultant

27
                                                             3
28                                               No. 1:24-cv-01102-KES-SAB
                          NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                   ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                    AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB                 Document 157        Filed 02/25/25      Page 4 of 17


 1               fees paid to the same person or business expenses incurred on a single business trip) in

 2               excess of $1,000 unless the expense is approved in writing by the Receiver prior to its

 3               incurrence.

 4               ***

 5                      Section 6: Abandonment Fee. If the Capstone sale process under the

 6               Engagement Letter is abandoned or terminated at any time other than termination for

 7               Cause (an “Abandonment”), Capstone will be paid a cash fee as follows (the

 8               “Abandonment Fee”): (i) the Abandonment Fee will be $0 until Capstone’s marketing

 9               materials and list of Prospective Acquirors have been presented to and approved by the

10               Receiver (estimated to be completed by March 19, 2025) (“Phase 1”); (ii) following

11               conclusion of Phase 1 and until the deadline set by the Receiver for receipt of non-

12               binding letters of intent (“Phase 2”), the Abandonment Fee will be $500,000; (iii) upon

13               the later of (x) conclusion of Phase 2, and (y) receipt by the Receiver of a non-binding

14               letter of intent from a Prospective Acquiror anticipating gross consideration of at least

15               $450,000,000 (“Phase 3”) (estimated deadline for receipt of indications of interest –

16               May 14, 2025), the Abandonment Fee will be $1,000,000; and, (iv) upon the receipt by

17               the Receiver of a binding offer anticipating gross consideration of at least $450,000,000

18               (deadline estimated to be July 9, 2025) and prior to closing (outside closing date

19               estimated to be September 8, 2025), the Abandonment Fee will be $2,500,000. The

20               Abandonment Fee will be allocated and payable according to the relative values of

21               Lender collateral interests (or Company property interests) in the Sale Property;

22               provided, however, that the following parcels shall be excluded from the calculation of

23               any Abandonment Fee: APN Nos. 038-130-71S; 038-130-62S; 038-130-35S; 038-200-

24               09S; 038-200-04S; 038-141-59S; and 038-210-25S. In the event that a Lender

25               forecloses on any or all of the Sale Property that serves as its collateral and thereafter

26               such Lender or its affiliates/related entities take title to such property (a “Lender-

27
                                                             4
28                                               No. 1:24-cv-01102-KES-SAB
                          NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                   ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                    AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB                 Document 157      Filed 02/25/25    Page 5 of 17


 1               Owner”), the Abandonment Fee apportioned to such property shall be waived and will

 2               not be payable so long as such Lender-Owner reengages Capstone to complete the sale

 3               process related to such property. The Abandonment Fee will be further reduced dollar-

 4               for-dollar by the amount of fees collected by Capstone from the sale of Excluded

 5               Parcels, if any.

 6                                     Payment of Fees Subject to Court Approval

 7                Capstone will seek Court approval for the payment of any fees and expenses incurred under

 8    the Engagement Letter; however, it requests a waiver of any requirement that it keep detailed time

 9    records of services rendered since its compensation is based on the results of subsequent sales of

10    assets, as set forth in the Engagement Letter.

11                                  Request for Approval of Indemnification Provision

12                Section 8 of the Engagement Letter contains standard indemnification and limitation of

13    liability language with respect to Capstone’s services (the “Indemnity”). The Receiver and

14    Capstone believe that the Indemnity is customary and reasonable for engagements of this type and

15    should be approved.

16                PLEASE TAKE FURTHER NOTICE THAT this Motion is made following the conference

17    of counsel pursuant to Local Rule 7-3 which took place on February 20, 2025, with

18                   •   Jason DeJonker and Nicholas Marcus on behalf of the Plaintiffs;

19                   •   David Hurst and Michael Nadel on behalf of the Farming Defendants (as defined in

20                       the Receivership Order);

21                   •   Gabriel Mathless and William Curtis on behalf of Federal Agricultural Mortgage

22                       Corporation; and

23                   •   Virginia Pedreira and Thomas Woods on behalf of Metropolitan Life Insurance

24                       Company, Metropolitan Real Estate Lending, LLC, and Brighthouse Life Insurance

25                       Company.

26

27
                                                           5
28                                               No. 1:24-cv-01102-KES-SAB
                          NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                   ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                    AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB            Document 157         Filed 02/25/25      Page 6 of 17


 1    The above parties were requested to respond with any objections on or before Monday, February

 2    24, 2025, at noon CT. No party stated an objection to the relief requested in the Motion or to

 3    the Court holding an expedited hearing on the Motion.

 4
      Dated: February 25, 2025
 5                                                Respectfully submitted,
 6                                                KATTEN MUCHIN ROSENMAN LLP
 7                                                By:       /s/ Terence G. Banich
                                                            Terence G. Banich
 8
                                                  Attorneys for the Receiver
 9                                                Lance Miller
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                        6
28                                             No. 1:24-cv-01102-KES-SAB
                        NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                 ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                  AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB               Document 157        Filed 02/25/25      Page 7 of 17


 1                Lance Miller, solely in his capacity as Court-appointed receiver (the “Receiver”) in the

 2    above-captioned case, hereby requests authority to employ and compensate Capstone Capital

 3    Markets LLC (“Capstone”) as his investment banker to assist him in the marketing and sale of

 4    certain Receivership Property described below, and respectfully states the following:

 5                                                 BACKGROUND

 6                On September 16, 2024, The Prudential Insurance Company of America and PGIM Real

 7    Estate Finance, LLC (together, the “Prudential Lenders”) filed a Complaint for Breach of

 8    Contract, Appointment of Receiver, Accounting and Specific Performance of Rents and Profits

 9    Clause; and Injunctive Relief [Dkt. No. 1] initiating the above-captioned case (the “Case”), and on

10    September 18, 2024, an Ex Parte Application Regarding Motion for Order Appointing Receiver and

11    for Preliminary Injunction [Dkt. No. 12].

12                On September 25, 2024, after notice and hearing, the Court entered the Agreed Order

13    Appointing Receiver with Limited Authority [Dkt. No. 51, as amended by Dkt. No. 107] and on

14    November 7, 2024, entered the Order Expanding Receivership and for Preliminary Injunction [Dkt.

15    No. 120] (the “Receivership Order”), appointing the Receiver as general receiver over the

16    Receivership Property (as defined in the Receivership Order). The scope of the Receiver’s duties

17    under the Receivership Order are:

18               [T]o preserve the Receivership Property and protect it from dissipation and diminution

19               in value; (b) to conduct business and operations in connection with the Receivership

20               Property, including the collection and disbursement of Proceeds; and (c) to assess

21               whether a sale of the Receivership Property would maximize value, and, following that

22               assessment and if appropriate in the Receiver’s reasonable judgment, implement an

23               organized sale process of the Receivership Property, whether in whole or part, with any

24               sale of Receivership Property outside of the ordinary court of business subject to the

25               Court’s approval.

26

27
                                                           7
28                                              No. 1:24-cv-01102-KES-SAB
                         NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                  ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                   AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB             Document 157       Filed 02/25/25      Page 8 of 17


 1    Receivership Order ¶ 23. In furtherance of these duties, the Receivership Order authorizes the

 2    Receiver to employ various professionals, including appraisers, liquidators, auctioneers, brokers,

 3    and other professionals to assist in the sales process. Receivership Order ¶ 3(o).3

 4               The Receiver, with the assistance of Pivot Management Group, LLC (“Pivot”), has spent

 5    considerable time analyzing the Receivership Property and related operations and has concluded, in

 6    the exercise of his business judgment, that a sale of the Receivership Property is appropriate. Miller

 7    Decl. ¶ 6. To maximize value, the Receiver has placed the Receivership Property into two categories

 8    in relation to the marketing and sale process: (1) parcels of real estate that should be sold together

 9    in order to maximize value (the “Farm Properties”), which are the subject of this Motion and listed

10    on Exhibit B of the Engagement Letter; and (2) parcels of real estate whose value is not linked to

11    the operation of the Farm Properties (the “Excluded Properties”), which are or shall hereafter be

12    the subject of a separate motion to employ a real estate broker. Id.

13               The Receiver believes that the terms of Capstone’s engagement and compensation, as set

14    forth herein and described in further detail in the engagement letter (the “Engagement Letter”)

15    attached as Exhibit 1 to the Declaration of Skye Root (the “Root Declaration,”), are warranted,

16    reasonable, and appropriate under the circumstances. Accordingly, the Receiver respectfully

17    requests that the Court grant this Motion and enter an order approving the Receiver’s engagement

18    of Capstone. Miller Decl. ¶ 12.

19               The Receiver further believes, in the exercise of his business judgment, that hiring an

20    investment banker to market and sell the Farm Properties, while hiring a broker to market and sell

21    the Excluded Properties, will maximize value by permitting each set of properties to be marketed to

22    its target demographic by a banker or broker knowledgeable of the market and the parties likely

23    interested in such properties. Id. ¶ 10.

24

25    3
           Although the Receivership Order authorizes the employment of Capstone without further Court
26         order, the Receiver files this Motion to ensure transparency in the marketing and sale of
           Receivership Property, including in the engagement and compensation of professionals hired to
27         assist him in this Case.
                                                        8
28                                             No. 1:24-cv-01102-KES-SAB
                        NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                 ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                  AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB              Document 157        Filed 02/25/25     Page 9 of 17


 1                                         REASON FOR SELECTION

 2               Capstone is a full-service investment bank with broad reach to investors throughout

 3    domestic and international markets. For a transaction of this size and nature, Capstone has access to

 4    top national and multinational strategic and financial buyers of agricultural businesses and assets.

 5    Root Decl. ¶ 8.

 6               The senior bankers leading this engagement, Skye Root and Jerry Sturgill, combine more

 7    than 50 years of investment banking and transactional experience. Both have led transactions for

 8    the sale of complex agricultural businesses and assets, including in settings like this one, where

 9    careful analysis and presentation of complex water rights and strategies are central to achieving the

10    highest potential value. Among their many successful sales transactions, several have been in court-

11    supervised settings. Id. ¶ 9.

12               For example, Mr. Root led the bankruptcy auction and sale of the extensive farming and

13    ranching operations of Easterday Ranches, Inc. in In re Easterday Ranches, Inc., et al., Case No.

14    21-00141-WLH11, United States Bankruptcy Court, Eastern District of Washington (2021); the sale

15    by the court-appointed receiver of the blueberry growing and processing operations of Othello

16    Blueberry in Rabo Agrifinance, LLC v. Othello Blueberry LLC et al., Case No. 23-2-50416-l,

17    Superior Court of the State of Washington (2023); and the bankruptcy sale of the Mensonides dairy

18    operations in In re Mensonides Dairy, LLC, No. 18-01681-FLK11, United States Bankruptcy Court

19    Eastern District of Washington (2019). In addition to his transactional experience, Mr. Root has

20    deep experience and expertise with agricultural water rights and delivery systems, farm

21    management, and crop inputs. Id. ¶ 10.

22               Mr. Sturgill served as the court-appointed Divestiture Trustee and led the Capstone team in

23    the sale of dairy processing assets acquired by Dairy Farmers of America in the Dean Foods

24    bankruptcy. United States of America, Commonwealth of Massachusetts and State of Illinois v.

25    Dairy Farmers of America and Dean Foods, Case No. 20 C 2658, United States District Court for

26    Northern District of Illinois (2020). He has also successfully sold businesses and assets in large

27
                                                          9
28                                             No. 1:24-cv-01102-KES-SAB
                        NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                 ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                  AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB              Document 157        Filed 02/25/25     Page 10 of 17


 1    mergers and acquisition transactions both in the United States and abroad. As a former partner of

 2    the law firm Latham & Watkins, he led the New-York-based corporate finance practice for the firm

 3    and was extensively involved in large mergers and acquisitions sponsored by the firm’s clients and

 4    in various corporate restructurings. He has also served as the turnaround CEO of a regional logistics

 5    company. Id. ¶ 11.

 6               Capstone also has the benefit of access to teams of analysts and investment bankers located

 7    throughout the United States and abroad. The Capstone agricultural group specifically has worked

 8    on various cross-border transactions in many of the world’s most important agricultural markets

 9    throughout Europe, South America, and Australasia. The firms’ international reach is further

10    extended through Capstone’s important role as a partner of the International Mergers and

11    Acquisitions Partnership (IMAP). Id. ¶ 12.

12               The Receiver believes that this experience, among other transactions, makes Capstone well

13    situated to serve as his investment banker in this Case. Miller Decl. ¶ 7.

14                                         SERVICES TO BE PROVIDED

15               Subject to Court order, and consistent with the terms of the Engagement Letter, the Receiver

16    request the retention and employment of Capstone to render the following services (the

17    “Transaction Services”), among others, as directed by the Receiver:

18                   (i)    formulating a market strategy for the Transactions;

19                   (ii)   identifying and contacting potential strategic and/or financial acquirers

20                          (“Prospective Acquirers”);

21                   (iii) subject to the guidance and approval of the Receiver, negotiating confidentiality

22                          agreements with Prospective Acquirors;

23                   (iv) preparing a Confidential Information Memorandum, management presentations,

24                          and other marketing materials for use in the marketing process (“Marketing

25                          Materials”);

26                   (v)    delivering Marketing Materials to Prospective Acquirors;

27
                                                          10
28                                             No. 1:24-cv-01102-KES-SAB
                        NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                 ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                  AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB              Document 157        Filed 02/25/25      Page 11 of 17


 1                   (vi) coordinating introductions, diligence requests, and arranging and conducting

 2                         telephonic or in-person meetings with Prospective Acquirers;

 3                   (vii) coordinating the receipt and evaluation of offers or proposals from Prospective

 4                         Acquirers;

 5                   (viii) assisting in evaluation of proposed valuations, transaction structures and related

 6                         terms and conditions;

 7                   (ix) providing the Receiver with periodic status reports and being available to the

 8                         Receiver and his advisors at all reasonable times to discuss any matters relating to

 9                         the Transaction or Transactions;

10                   (x)   assisting the negotiation and consummation of definitive agreements for each

11                         Transaction;

12                   (xi) providing testimony and/or witness services with respect to the Transaction

13                         process and its completeness before the Court; and

14                   (xii) such other advisory services as may be customarily provided in connection with

15                         the analysis and negotiation of Transactions like those contemplated in the

16                         Engagement Letter and as may be requested and mutually agreed between

17                         Capstone and the Receiver.

18    Engagement Letter § 2.

19               It is not the general practice of investment banking firms, including Capstone, to keep

20    detailed time records similar to those kept by the attorneys and other Court-approved professionals

21    in this Case. Root Declaration ¶ 17. Because Capstone does not keep detailed time records, coupled

22    with the fact that its compensation is results based, Capstone requests that it be excused from

23    compliance with any rule that would require it to keep detailed time records of its services rendered.

24    Id.

25

26

27
                                                          11
28                                             No. 1:24-cv-01102-KES-SAB
                        NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                 ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                  AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB              Document 157        Filed 02/25/25     Page 12 of 17


 1                                               COMPENSATION

 2                Capstone has accepted this engagement conditioned upon its ability to be retained in

 3    accordance with its customary terms and conditions of employment, compensated for its services,

 4    and reimbursed for its out-of-pocket expenses incurred, all in accordance with its customary billing

 5    practices as set forth in the Engagement Letter, including:

 6               Section 3: Professional Fees. As compensation for the Transaction Services rendered

 7               under the Engagement Letter by Capstone, Capstone will receive payment of the

 8               following fees:

 9               (i)    Retainer Fees: a non-refundable retainer fee of $35,000 payable upon the

10                      execution and delivery of the Engagement Letter and on the first day of each

11                      subsequent month during the Term of the Engagement Letter (the “Monthly

12                      Retainer Fees”). Subject to subparagraph (ii)(b) below, the aggregate amount

13                      of Monthly Retainer Fees will be fully credited against the Transaction Fee.

14               (ii)   Transaction Fee: Upon the closing of one or more Transactions involving the

15                      sale of Sale Property, Capstone shall receive a cash fee equal to one percent

16                      (1.0%) of the Aggregate Transaction Value (as defined in Section 4 of the

17                      Engagement Letter) attributable to each Transaction, and upon the closing of

18                      one or more Transactions involving the sale of Excluded Parcels, if any,

19                      Capstone shall receive a cash fee of two percent (2.0%) (in each case a

20                      “Transaction Fee”) provided that:

21                             a)      The aggregate Transaction Fees attributable to all Transactions

22                                     involving the Sale Property and Excluded Parcels shall not be

23                                     less than five million dollars ($5,000,000) (the “Minimum

24                                     Transaction Fee”) after credit of Monthly Retainer Fees, and

25                             b)      If a Lender successfully consummates one or more Transactions

26                                     as a credit bidder in any Transaction, the Transaction Fee

27
                                                            12
28                                               No. 1:24-cv-01102-KES-SAB
                          NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                   ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                    AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB               Document 157        Filed 02/25/25      Page 13 of 17


 1                                     attributable to each such Transaction shall be reduced by twenty

 2                                     five percent (25%).

 3               During the Term of the Engagement Letter, the Transaction Fee, if earned by Capstone

 4               pursuant to the terms of the Engagement Letter, shall be payable to Capstone regardless

 5               of whether or not the Prospective Acquirer was introduced by Capstone. In addition,

 6               Capstone will be reimbursed for all reasonable expenses related to the Transaction

 7               Services and Transaction(s) described in the Engagement Letter, including the

 8               reasonable fees and expenses, if any, of legal counsel, water consultants, or other

 9               advisors retained by Capstone in connection with its performance under the

10               Engagement Letter; provided, however, that Receiver shall not be responsible for any

11               single out-of-pocket expense (or series of related expenses, such as legal or consultant

12               fees paid to the same person or business expenses incurred on a single business trip) in

13               excess of $1,000 unless the expense is approved in writing by the Receiver prior to its

14               incurrence.

15                ***

16               Section 6: Abandonment Fee. If the Capstone sale process under the Engagement Letter

17               is abandoned or terminated at any time other than termination for Cause (an

18               “Abandonment”), Capstone will be paid a cash fee as follows (the “Abandonment

19               Fee”): (i) the Abandonment Fee will be $0 until Capstone’s marketing materials and

20               list of Prospective Acquirors have been presented to and approved by the Receiver

21               (estimated to be completed by March 19, 2025) (“Phase 1”); (ii) following conclusion

22               of Phase 1 and until the deadline set by the Receiver for receipt of non-binding letters

23               of intent (“Phase 2”), the Abandonment Fee will be $500,000; (iii) upon the later of (x)

24               conclusion of Phase 2, and (y) receipt by the Receiver of a non-binding letter of intent

25               from a Prospective Acquiror anticipating gross consideration of at least $450,000,000

26               (“Phase 3”) (estimated deadline for receipt of indications of interest – May 14, 2025),

27
                                                             13
28                                              No. 1:24-cv-01102-KES-SAB
                         NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                  ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                   AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB               Document 157        Filed 02/25/25      Page 14 of 17


 1               the Abandonment Fee will be $1,000,000; and, (iv) upon the receipt by the Receiver of

 2               a binding offer anticipating gross consideration of at least $450,000,000 (deadline

 3               estimated to be July 9, 2025) and prior to closing (outside closing date estimated to be

 4               September 8, 2025), the Abandonment Fee will be $2,500,000. The Abandonment Fee

 5               will be allocated and payable according to the relative values of Lender collateral

 6               interests (or Company property interests) in the Sale Property; provided, however, that

 7               the following parcels shall be excluded from the calculation of any Abandonment Fee:

 8               APN Nos. 038-130-71S; 038-130-62S; 038-130-35S; 038-200-09S; 038-200-04S;

 9               038-141-59S; and 038-210-25S. In the event that a Lender forecloses on any or all of

10               the Sale Property that serves as its collateral and thereafter such Lender or its

11               affiliates/related entities take title to such property (a “Lender-Owner”), the

12               Abandonment Fee apportioned to such property shall be waived and will not be payable

13               so long as such Lender-Owner reengages Capstone to complete the sale process related

14               to such property. The Abandonment Fee will be further reduced dollar-for-dollar by the

15               amount of fees collected by Capstone from sale of Excluded Parcels, if any.

16    Engagement Letter §§ 3,6.

17                The Receiver believes, in his reasonable business judgment, that the terms of the

18    Engagement Letter are warranted, reasonable, and appropriate under the circumstances. Miller Decl.

19    ¶ 8. The essential terms of the Engagement Letter are standard and usual terms that Capstone

20    includes within its agreements for similar engagements. Root Decl. ¶ 16. For the avoidance of doubt,

21    should Capstone negotiate an acceptable transaction(s) approved by the Receiver, the Receiver will

22    file a separate motion seeking the Court’s prior approval of such transaction free and clear of all

23    liens, claims and encumbrances. Miller Decl. ¶ 11.

24                                    JOINDER OF ADDITIONAL PARTIES

25               As reflected in Section 2 of the Engagement Letter, in order to maximize potential proceeds

26    in a Transaction or Transactions for the sale of the Sale Properties, the Receiver and Capstone will

27
                                                           14
28                                              No. 1:24-cv-01102-KES-SAB
                         NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                  ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                   AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB           Document 157        Filed 02/25/25      Page 15 of 17


 1    consult and cooperate to present agreements to the MetLife/Brighthouse receiver, Phillip

 2    Christensen of AgriGlobe, Maricopa Orchards, LLC and its affiliates, landowners owning properties

 3    adjacent, bounded by or otherwise related to the parcels of the Sale Property, and third-party lenders

 4    willing to participate in a Transaction that will permit such parties to participate in a sale process

 5    run by the Receiver with Capstone’s assistance. Joinder of other parties, however, is not a condition

 6    to Capstone’s proposed employment.

 7                  REQUEST FOR APPROVAL OF INDEMNIFICATION PROVISION

 8               The Engagement Letter contains standard indemnification and limitation of liability

 9    language with respect to Capstone’s services (the “Indemnity”). See Engagement Letter § 8. The

10    Receiver and Capstone believe that the Indemnity is customary and reasonable for engagements of

11    this type and should be approved. Miller Decl. ¶ 9; Root Declaration ¶ 14.

12                                          LEGAL STANDARD

13               District courts have “extremely broad” power and “wide discretion” in overseeing the

14    administration of a receivership. Sec. & Exch. Comm’n v. Hardy, 803 F.2d 1034, 1037 (9th Cir.

15    1986). That broad authority to oversee the administration of a receivership extends to the

16    employment and compensation of a receiver’s professionals. In a receivership, “[t]he court

17    appointing the receiver has full power to fix the compensation of such receiver and the compensation

18    of the receiver’s attorney or attorneys,” such that the approval of an employment motion “is left

19    entirely to the determination of the appointing court.” Drilling & Expl. Corp. v. Webster, 69 F.2d

20

21

22

23

24

25

26

27
                                                       15
28                                             No. 1:24-cv-01102-KES-SAB
                        NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                 ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                  AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB            Document 157         Filed 02/25/25     Page 16 of 17


 1    416, 418 (9th Cir. 1934); accord Sec. & Exch. Comm’n v. Durmaz, No. 2:10-CV-01689-JLS-AJW,

 2    2018 WL 10798893, at *2 (C.D. Cal. Sept. 19, 2018) (applying Webster).

 3                                          RELIEF REQUESTED

 4               The Court should grant the Motion and authorize the Receiver to employ Capstone as his

 5    investment banker on the terms proposed. As a preliminary matter, the Court has already

 6    empowered the Receiver to employ an investment banker to assist him in the marketing and sale of

 7    Receivership Property. Receivership Order ¶ 3(o). The Receiver considered eight separate firms

 8    before deciding to engage Capstone, primarily because of its extensive experience in complex sales

 9    involving agricultural property and related water rights. Miller Decl. ¶ 7. Courts generally defer to

10    the business judgment of receivers and similar fiduciaries as to matters of estate administration. See,

11    e.g., Bennett v. Williams, 892 F.2d 822, 824 (9th Cir. 1989) (“we are deferential to the business

12    management decisions of a bankruptcy trustee…”).

13               The Receiver believes it is essential that Capstone be employed to provide the services

14    described above and that Capstone be compensated as set forth above, subject to the requirements

15    imposed by this Court.

16               WHEREFORE, based on the foregoing, the Receiver requests that this Court enter an Order

17    authorizing his employment of Capstone pursuant to the terms of the Engagement Letter, and

18    granting such other and further relief the Court may deem proper in the circumstances.

19    Dated: February 25, 2025

20                                                           Respectfully submitted by:

21                                                           KATTEN MUCHIN ROSENMAN LLP

22
                                                             By: /s/ Terence G. Banich
23                                                           Terence G. Banich
                                                             Attorneys for the Receiver
24                                                           Lance Miller
25

26

27
                                                        16
28                                             No. 1:24-cv-01102-KES-SAB
                        NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                 ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                  AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

     302177865
     Case 1:24-cv-01102-KES-SAB             Document 157         Filed 02/25/25      Page 17 of 17


 1                                            PROOF OF SERVICE

 2    STATE OF ILLINOIS, COUNTY OF COOK

 3            At the time of service, I was over 18 years of age and not a party to this action. I am employed
      in the County of Cook, State of Illinois. My business address is 525 W. Monroe St., Chicago, Illinois
 4    60661. On February 24, 2025, I served the following document(s) described as:

 5
      NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER
 6    FOR ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE
      CAPITAL MARKETS LLC AS INVESTMENT BANKER; MEMORANDUM OF POINTS
 7    AND AUTHORITIES IN SUPPORT THEREOF

 8    as follows:

 9    [ ] BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
      persons at the addresses listed above and placed the envelope for collection and mailing, following
10    our ordinary business practices. I am readily familiar with Katten Muchin Rosenman LLP practice
      for collecting and processing correspondence for mailing. On the same day that the correspondence
11    is placed for collection and mailing, it is deposited in the ordinary course of business with the United
      States Postal Service, in a sealed envelope with postage fully prepaid.
12
      [ ] BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the document(s) to be sent
13    from e-mail address terence.banich@katten.com to the persons at the e-mail address(es) listed
      below. I did not receive, within a reasonable time after the transmission, any electronic message or
14    other indication that the transmission was unsuccessful.

15    [ ] BY OVERNIGHT MAIL (FedEx): I enclosed said document(s) in an envelope or package
      provided by FEDEX and addressed to the persons at the addresses listed above. I placed the
16    envelope or package for collection and overnight delivery at an office or a regularly utilized drop
      box of FEDEX or delivered such document(s) to a courier or driver authorized by FEDEX to receive
17    documents.

18    [ ] BY PERSONAL SERVICE: I caused said document to be personally delivered the
      document(s) to the person at the addresses listed above by leaving the documents in an envelope or
19    package clearly labeled to identify the attorney being served with a receptionist or an individual in
      charge of the office.
20
      [X] E-FILING: By causing the document to be electronically filed via the Court’s CM/ECF
21    system, which effects electronic service on counsel who are registered with the CM/ECF system.

22            I declare under penalty of perjury under the laws of the State of Illinois that the foregoing is
      true and correct.
23
                 Executed on February 24, 2025, at Chicago, Illinois.
24
                                                              /s/Terence G. Banich
25                                                            Terence G. Banich

26

27
                                                         17
28
                                               No. 1:24-cv-01102-KES-SAB
                        NOTICE OF MOTION AND UNOPPOSED MOTION OF RECEIVER LANCE MILLER FOR
                 ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC
                  AS INVESTMENT BANKER; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
     302177865
